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                6.24.2021

            To: Courtroom Deputy
            The Honorable Michael J. Mcshane
            United States District Court for the District of Oregon
            Wayne L. Morse United States Courthouse
            405 E. 8th Avenue, Room 2100
            Eugene, OR 97401
            p. 541-431-4105


            From: John Henry Schneider

                Please change my mailing address on file to:



            John H Schneider
            P.O. Box 495




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/.,.
__.-        Thank you,

            John H Schneider, MD MS-ADR
            schneiderjohnh@gmail.com
            760-908-8638
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